      Case 3:06-cv-01707-AWT Document 63 Filed 12/12/08 Page 1 of 5



                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

------------------------------x
                              :
LINDA S. BRENNER, on behalf   :
of herself and all others     :
similarly situated,           :
                              :
     Plaintiff,               :
                              :        CASE NO. 3:06CV01707(AWT)
v.                            :
                              :
I.C. SYSTEM, INC.,            :
                              :
     Defendant.               :
                              :
------------------------------x

                      FINAL JUDGMENT AND ORDER

     Upon consideration as to whether the proposed settlement of

the above-referenced litigation (the "Litigation") should be

finally approved, the parties having presented their Settlement

Agreement and supporting documents to the Court and the Court

having held a hearing on the fairness of the proposed settlement

of the Litigation, at which objectors to the settlement could

appear, the Court finds that:

     A.   Notice of the proposed settlement has been timely

mailed to a "Class" consisting of "all persons in the State of

Connecticut to whom, during the three years prior to the filing of

the Complaint, Defendant sent one or more letters or other

communications substantially in the form of the letters described

in the Complaint (the "Letters") in an attempt to collect a

nonbusiness debt allegedly owed to Dell Financial Services
         Case 3:06-cv-01707-AWT Document 63 Filed 12/12/08 Page 2 of 5


("Dell"), which Letters were not returned as undeliverable by the

Postal Service," and a "One Year Subclass," defined as "all persons

in the State of Connecticut to whom, during the one year prior to

the filing of the Complaint, Defendant sent one or more Letters in

an attempt to collect a non-business debt allegedly owed to Dell,

which Letters were not returned as undeliverable by the Postal

Service."     Such notice satisfies the requirements of Rule 23(c) of

the Federal Rules of Civil Procedure.

     B.      No Class member timely requested exclusion from the

Class.     No Class member has objected to the settlement.

     C.      The issues as to liability and remedies, if any, in the

Litigation are issues as to which there are grounds for difference

of opinion, and the proposed settlement of the Litigation

constitutes a resolution of those issues that is fair, reasonable

and adequate to the members of the Class.

             IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

     1.     The Settlement Agreement submitted herein is approved as

fair, reasonable and adequate pursuant to Rule 23 of the Federal

Rules of Civil Procedure, and the parties are directed to consummate

such agreement in accordance with its terms.          All terms defined in

the Settlement Agreement have the same meanings when used herein.

     2.     The Litigation is hereby dismissed, with prejudice and

without costs, and all Class members who did not timely request


                                      -2-
       Case 3:06-cv-01707-AWT Document 63 Filed 12/12/08 Page 3 of 5


exclusion shall be barred and enjoined from bringing any and all

claims, actions and causes of action that were asserted in the

Litigation by the Representative Plaintiff and the Class, or that

arise from the initiation, litigation or settlement of the Litigation

or   the   administration    of     the     Settlement,     against   (i)   the

Representative Plaintiff; (ii) Defendant; (iii) their respective

parents, partners, subsidiaries and affiliates; (iv) the partners,

directors,    officers,     employees,       agents,   insurance      carriers,

successors and assigns, both past and present, of Defendant; and (v)

any attorney for    Defendant, the         Representative    Plaintiff, their

agents,    employees,   insurance   carriers,     successors    and    assigns.

Except for the claims asserted in the Litigation, however, a Class

member may assert any other claim or defense in an effort to defeat

any pending or future debt collection action (whether judicial or

non-judicial).

     3.     Upon the Effective Date, Defendant, for itself, and on

behalf of the Released Parties, shall be deemed to release and

forever discharge the Representative Plaintiff, the Class and

their present and former attorneys, administrators, heirs, agents,

insurance carriers, successors, and assigns, from any and all

causes of action, claims, and demands of any nature whatsoever,

asserted or unasserted, arising out of, or relating in any way to,

the institution, prosecution, or resolution of the Litigation.


                                     -3-
        Case 3:06-cv-01707-AWT Document 63 Filed 12/12/08 Page 4 of 5


This provision does not, nor shall it be construed as, affecting

the amount, character, legal status, etc. of any debt that is or

may be owed to Dell by any Class member.

             After the Effective Date, the Settlement Fund shall be
       4.

closed and the proceeds deposited into a checking account in the name

of the Settlement Administrator to be distributed to Claiming Class

Members in accordance with the Settlement Agreement.          To the extent

that any funds remain after distribution to Claiming Class Members,

including funds covered by returned checks and checks not cashed

within 90 days from mailing, such remaining funds shall be divided

equally between the National Consumer Law Center and the National

Association of Consumer Advocates as cy pres recipients.           Under no

circumstances shall any portion of the Settlement Fund revert to

Defendant.

       5.    The Representative Plaintiff is awarded the sum of Ten

Thousand Dollars ($10,000.00) in full settlement of her individual

claims, in addition to any sums that she may be entitled to claim

from those amounts of the Settlement Fund as are designated to be

paid to the Class, and in recognition of her services to the Class.

Upon the Effective Date, Defendant shall pay such award to the

Representative Plaintiff in care of her counsel, Joanne S. Faulkner.

Esq.

       6.    Following the Effective Date, Defendant shall close its accounts

                                      -4-
       Case 3:06-cv-01707-AWT Document 63 Filed 12/12/08 Page 5 of 5


of the Representative Plaintiff, and Defendant shall take no further

collection action with respect to its accounts.

     7.    Upon the Effective Date, Defendant shall pay Class

Counsel's fair and reasonable fees and reimbursement of expenses in

accordance with the terms of the Settlement Agreement.             The award of

such fees and expenses shall be made pursuant to a separate Order.

      8.   Consummation of the settlement shall proceed as described

in   the   Settlement    Agreement    and    the   Court       hereby   retains

jurisdiction of this matter in order to resolve any disputes which

may arise in the implementation of the Settlement Agreement or the

implementation of this Final Judgment and Order.              The Court retains

continuing     jurisdiction    for     purposes        of     supervising    the

implementation   of   the   Settlement     Agreement    and    supervising   the

distribution and allocation of the Settlement Fund.

     It is so ordered.

     Signed this 9th day of December, 2008 at Hartford,

Connecticut.




                                     ____/s/__AWT_________________
                                           Alvin W. Thompson
                                     United States District Judge




                                     -5-
